      Case 3:07-cr-00634-JAJ-TJS Document 151 Filed 10/13/09 Page 1 of 1
                           WITNESS & EXHIBIT LIST
Criminal No. 3:07-cr-00634
Caption: U.S.A. v. Christopher James McGee
............................................................................
                                     WITNESSES
NAME                                                      DATE                TIME
                                                                      Start    End
 GOVERNMENT:
 DEFENDANT MCGEE:



                                      EXHIBITS
GOVERNMENT
NUMBER DESCRIPTION                                    I O Obj R RSO OS           DATE

 1      Reporting Officer Narrative, 9/22/09          X X         X            10/9/09
 2      Arrest Card dated 6/5/06                      X X         X            10/9/09
 3      Fingers from Arrest 1/14/09                   X X         X            10/9/09
 4      Charge and Disposition Information            X X         X            10/9/09
 5      Arrest Report dated 6/5/06                    X X         X            10/9/09


DEFENDANT MCGEE
LETTER DESCRIPTION                                    I   O Obj R RSO OS       Date
 A




I = Identified: O = Offered: Obj = Objection; R = Received;   RSO = Received Subject to
Objection; OS = Objection Sustained;
